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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division



  ______________________________________
  Horacio Sequeira,                      )                            Case No. 1:16-cv-25052-JEM
                                         )
                          Plaintiff,     )
                                         )
                 v.                      )
                                         )
  Republic of Nicaragua, City of         )
  Chinandega, Eduardo Jose Callejas      )
  Callejas, and Estrellita del Carmen    )
  Troz Martinez,                         )
                                        )
                          Defendants.   )

   DEFENDANT EDUARDO JOSE CALLEJAS CALLEJAS’ MOTION IN OPPOSITION
        TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT

         Defendant Eduardo Jose Callejas Callejas (“Defendant Callejas”), by and through the

  undersigned attorney, hereby files his Motion in Opposition to Plaintiff’s Motion for Leave to

  Amend the Complaint, and states as follows:

                                         INTRODUCTION

         The proposed Amended Complaint continues to be: (i) severely inadequate in regard to

  jurisdiction; (ii) incoherent in regard to the facts at issue; and (iii) and void of valid causes of

  action. As the other Defendants noted in their companion Motion in Opposition, nothing has been

  done to cure the factual mess and legal deficiencies identified by Magistrate Judge Goodman in

  his Omnibus Report and Recommendations [DE 45] on the Parties’ motion to dismiss the original

  Complaint [DE 72]. Plaintiff’s Motion for Leave must be denied.

         In support of this Motion and in order to not belabor the point, Defendant Callejas adopts

  the factual and legal arguments set forth in the other Defendants’ companion Motion in Opposition
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  [DE 72]. Defendant Callejas also re-adopts the allegations in his Motion to Dismiss the original

  Complaint [DE 16].

                              ARGUMENTS AS TO COUNTS
                      AGAINST DEFENDANT CALLEJAS PERSONALLY

         1.      Plaintiff’s causes of action against Defendant Callejas all allegedly stem from the

  December 2008 breach of a non-existent lease agreement entered into between Plaintiff and

  Defendant Callejas in 2008. [DE 70-2, at ¶ 73, 122]. The 2008 lease agreement does not exist, and

  it was not attached to the Amended Complaint. As set forth in Defendant Callejas’ Motion to

  Dismiss [DE 16] and reiterated supra, all of the causes of action against Defendant Callejas are

  statutorily time barred.

         2.      Count IV for breach of contract is time barred as it alleges that the breach occurred

  in December 2008, over nine (9) yeas ago. [DE 16, 70-2, at ¶ 122].

         3.      Count V alleging breach of implied covenant and good faith and fair dealing is time

  barred as the alleged breach purportedly occurred in 2008. [DE 16, 70-2, at ¶ 132].

         4.      Count VI alleging conversion is time barred as the alleged conversion purportedly

  took place in 2008. The Amended Complaint provides absolutely no facts, dates, information, or

  monetary values as to the claimed personal property, but it suggests that the personal property was

  taken in 2008 when Defendant Callejas purportedly breached the non-existent lease agreement.

  [DE 70-2, ¶ 135].

         5.      Count VII alleging unjust enrichment is time barred as it stems from the alleged

  2008 breach of the non-existent lease agreement. [DE 70-2, ¶ 145].

         6.      Count VIII alleging trespass is time barred as it stems from the alleged 2008 breach

  of the non-existent lease agreement. [DE 70-2, ¶ 151].
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         7.      Count IX alleging trespass to chattels is time barred as it stems from the alleged

  2008 breach of the non-existent lease agreement. [DE 70-2, ¶ 155].

         8.      Count X alleging intentional interference with prospective economic advantage and

  business relationship is time barred as it stems from the alleged 2008 breach of the non-existent

  lease agreement. [DE 70-2, ¶¶ 159, 160].

         9.      Count XI alleging negligent interference with prospective economic advantage and

  business relationship is time barred as it stems from the alleged 2008 breach of the non-existent

  lease agreement. [DE 70-2, ¶¶ 167, 168, 170].

         10.     Count XII alleging intentional infliction of emotional distress is time barred as it

  stems from the alleged 2008 breach of the non-existent lease agreement. [DE 70-2, ¶ 177].

         11.     Count XIII alleging negligent infliction of emotional distress is time barred as it

  stems from the alleged 2008 breach of the non-existent lease agreement. [DE 70-2, ¶ 181].

                                           CONCLUSION

         The Amended Complaint regurgitated the same ambiguous facts and deficient causes of

  action set forth in the original Complaint. Furthermore, as fully addressed by the other Defendants

  in their companion Motion in Opposition [DE 72], Plaintiff has done nothing to prove jurisdiction

  or to remedy the deficiencies outlined in Magistrate Judge Goodman’s Report and

  Recommendation [DE 45].

         Plaintiff is a vexatious litigant whose sole intent is to waste the time and resources of this

  Court and the Defendants. He should not be allowed to proceed with any causes of action against

  any of the Defendants, and his Motion for Leave should be denied.

         Dated: February 16, 2018
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                                     Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that, on this 16th day of February 2018, we electronically filed

  the foregoing document with the Clerk of the Court using CM/ECF. We also certify that foregoing

  document is being served this day on Plaintiff and all counsel of record, in the manner specified

  in the Service List below, either via transmission of Electronic Filing generated by CM/ECF or in

  some other authorized manner to those parties who are not authorized to receive electronic Notices

  of Electronic Filing

                                                      /s/ Gabriel J. Fernandez
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